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                                              5
                                                  Attorneys for Defendant and Counter-Claimant
                                              6   THE KETCHUM GROUP, INC.
                                              7
                                              8                          UNITED STATES DISTRICT COURT
                                              9                         CENTRAL DISTRICT OF CALIFORNIA
                                            10
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                                            11    CAMERON GAINER, an individual,             Case No. 8:17-CV-00672
             A TTORNEYS A T L AW




                                            12                     Plaintiff,                [Hon. James V. Selna]
                            M INNEAPOLIS




                                            13    v.                                         PLAINTIFF GAINER’S NOTICE
                                                                                             OF EX PARTE APPLICATION
                                            14    THE KETCHUM GROUP, INC., d/b/a             AND EX PARTE APPLICATION
                                                  OUTDOOR TECHNOLOGY,                        TO DENY OR CONTINUE
                                            15                                               DEFENDANT’S MOTION FOR
                                                                   Defendant.                SUMMARY JUDGMENT
                                            16
                                                                                            [[Proposed] Order filed concurrently
                                            17
                                                                                            herewith]
                                            18
                                                  AND RELATED COUNTER-
                                            19    CLAIMS
                                            20
                                            21             TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                                            22             PLEASE TAKE NOTICE that Plaintiff Cameron Gainer (hereinafter “Mr.
                                            23    Gainer”) will and hereby do move this Court, on an Ex Parte basis, and pursuant to
                                            24    Rule 56(d) of the Federal Rules of Civil Procedure, for an Order to Deny or Continue
                                            25    Defendant’s Motion for Summary Adjudication until the close of discovery or April
                                            26    27, 2018, on grounds that Mr. Gainer requires expert discovery in order to adequately
                                            27    oppose the motion. Further, with Gainer’s impending cross-motion for Summary
                                            28    Judgment on virtually the same issues, Gainer invokes the Court’s inherent powers
                                                                                                   DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                          MEMORANDUM OF POINTS AND
                                                  88833408.1                                                            AUTHORITES
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                                              1   to impose a stay on Defendant’s Motion and for the parties to coordinate on a
                                              2   common date for the hearing to their summary judgment cross-motions.
                                              3            The Ex Parte Application is based upon this Notice, the attached
                                              4   Memorandum of Points and Authorities, the Declaration of Christopher K. Larus, the
                                              5   [Proposed] Order lodged concurrently herewith, and the Court’s file on this matter.
                                              6                         STATEMENT OF EX PARTE NOTICE
                                              7            This application is made following the exchange of correspondences between
                                              8   counsel and related conference of counsel pursuant to L.R. 7-3 on March 23, 2018.
                                              9   Pursuant to this conference, Defendant’s counsel was notified of this Ex Parte
                                            10    Application following counsel’s denial of Mr. Gainer’s request to continue the
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                                            11    hearing on its Motion for Summary Judgment in order to permit the completion of
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                                            12    specific discovery which Mr. Gainer identifies as required with respect to his
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                                            13    opposition to Defendant’s Motion, and to allow the parties’ related cross-motions to
                                            14    be heard contemporaneously avoiding the useless consumption of judicial resources.
                                            15    See Larus Decl. Exs. 1, 2. Further, Defendant’s counsel does not oppose this
                                            16    application.
                                            17          Correspondence reflecting this notice is attached to the Declaration of

                                            18    Christopher Larus as Exhibits 1,2. See also Larus Decl., at ¶ 1, 2.
                                            19
                                            20
                                                   Dated: March 26, 2018            ROBINS, KAPLAN L.L.P.
                                            21
                                            22                                      By:    /s/ Draft
                                                                                         Christopher K. Larus
                                            23
                                                                                    Attorneys for Plaintiff,
                                            24                                      CAMERON GAINER, AN INDIVIDUAL
                                            25
                                            26
                                                                                      MEMORANDUM
                                            27
                                            28             A.    Standards Under Federal Rule of Civil Procedure 56(d)
                                                                                                   DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                          MEMORANDUM OF POINTS AND
                                                  88833408.1                              -2-                           AUTHORITES
                                           Case 8:17-cv-00672-JVS-DFM Document 43 Filed 03/27/18 Page 3 of 9 Page ID #:557



                                              1            District Courts have wide discretion to continue motions for summary
                                              2   judgment under Rule 56(d) to permit discovery of potentially favorable information,
                                              3   as follows:
                                              4            “If a nonmovant shows by affidavit or declaration that, for specified reasons,
                                              5   it cannot present facts essential to justify its opposition, the court may:
                                              6
                                              7            (1) defer considering the motion or deny it;
                                              8            (2) allow time to obtain affidavits or declarations or to take discovery; or
                                              9            (3) issue any other appropriate order.”
                                            10             Id.; see also VISA Intern. Service Ass’n v. Bankcard Holders of America, 784
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                                            11    F.2d 1472, 1475- 76 (9th Cir. 1986) (request under Rule 56(d) should be granted
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                                            12    where “the party opposing summary judgment makes (a) a timely application which
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                                            13    (b) specifically identifies (c) relevant information, (d) where there is some basis for
                                            14    believing that the information sought actually exists.”).
                                            15             In construing Rule 56(d), the Ninth Circuit has repeatedly explained that
                                            16    “[S]ummary judgment should not be granted while opposing party timely seeks
                                            17    discovery of potentially favorable information.” Garrett, supra, 818 F.2d at 1518
                                            18    (9th Cir. 1987) (construing Rule 56(d) and reversing trial court’s grant of summary
                                            19    judgment as premature) (emphasis added); VISA Intern. Service Ass’n, supra, 784
                                            20    F.2d at 1475- 76 (reversing grant of summary judgment where party opposing motion
                                            21    identified discovery required to oppose the motion); Jewel Cos. v. Pay Less Drug
                                            22    Stores North-West, Inc., 741 F.2d 1555, 1566 (9th Cir. 1984) (summary judgment on
                                            23    contract claim improper given potential extrinsic evidence required for interpretation
                                            24    of contract); Alghanim v. Boeing Co., 477 F.2d 143, 149 (9th Cir. 1973) (refusal to
                                            25    grant a continuance to allow production of affidavits constituted abuse of discretion).
                                            26             The purpose of this rule is to prevent the opposing party from being
                                            27    “railroaded” where it has not “had an opportunity to make full discovery.” Celotex
                                            28    Corp. v. Catrett, 477 U.S. 317, 326 (1986) (discussing the former Rule 56(f)). “For
                                                                                                       DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                              MEMORANDUM OF POINTS AND
                                                  88833408.1                                 -3-                            AUTHORITES
                                           Case 8:17-cv-00672-JVS-DFM Document 43 Filed 03/27/18 Page 4 of 9 Page ID #:558



                                              1   the Court to consider only one party's expert opinions and reports on summary
                                              2   judgment, would undoubtedly yield a fruitless endeavor and strikes this Court as a
                                              3   waste of judicial resources.” Chek-Med Sys. v. PMT Corp., No. 1:09-cv-174, 2011
                                              4   U.S. Dist. LEXIS 162571, at *16 (M.D. Pa. Apr. 14, 2011) (applying rule 56(d) to
                                              5   stay briefing on summary judgment motion until after completion of agreed upon
                                              6   expert discovery).
                                              7            An Adequate Response to Defendant’s Motion Requires Expert Discovery
                                              8            As set forth herein and in Larus’ Declaration, on March 5, 2018, Defendant
                                              9   submitted the Expert Report of Harvey Levenson, in which defendant’s expert opined
                                            10    as the lack of sufficient originality in Gainer’s works. (Ex.___). Defendant’s expert
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                                            11    further opined on whether the works in question are derivative of the Patterson
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                                            12    Gimlin film. Id. On March 12, 2018, Defendant filed its Motion for Summary
                            M INNEAPOLIS




                                            13    Judgment on the same grounds – a finding that Gainer’s works are derivative and
                                            14    lack sufficient originality to garner copyright protection. (Dkt. 40). Defendant’s
                                            15    Motion is based on matters which are the subject of ongoing expert discovery.
                                            16             Plaintiff expects to serve a rebuttal expert opinion on Defendant on exactly the
                                            17    same grounds above. The deadline for such a rebuttal falls on April 6, 2018, two
                                            18    weeks before the deadline for Plaintiff’s response to Defendant’s Motion. (See Dkt.
                                            19    28-1). Further, Plaintiff seeks to depose Defendant’s expert and expert discovery
                                            20    closes on April 27, 2018.
                                            21             Plaintiff requests Defendant’s Motion be continued until after the completion
                                            22    of expert discovery, as such would allow for a complete and developed record on
                                            23    these matters pertinent to the Court’s ruling. Particularly, Plaintiff seeks testimony
                                            24    from its expert regarding the level of originality, skill and expertise involved in the
                                            25    creation of Gainer’s Forest Through The The Trees sculpture. Gainer anticipates
                                            26    testimony which will shed abundant light on the techniques of taxidermy utilized by
                                            27    Mr. Gainer in the creation of his works. Given that this will go to the question of
                                            28    originality, Plaintiff feels that the absence of such testimony will rob him of the
                                                                                                      DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                             MEMORANDUM OF POINTS AND
                                                  88833408.1                                 -4-                           AUTHORITES
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                                              1   ability to fully defend Defendant’s summary judgment motion. Moreover, Plaintiff
                                              2   seeks to depose Defendant’s expert on the basis for his opinion that -- Mr. Gainer’s
                                              3   works are not sufficiently original for copyright protection, an assertion replete in
                                              4   Defendant’s Memorandum in support of its request for summary Judgment. Cite.
                                              5   Without its rebuttal expert report and deposition of Defendant’s expert on these
                                              6   specific issues raised in Defendant’s Motion, Mr. Gainer will effectively be barred
                                              7   from fully and effectively preparing a response to Defendant’s pending motion.
                                              8            As the Ninth Circuit stated in Garrett, Mr. Gainer believes this Court should
                                              9   not move forward with Defendant’s Motion for Summary Judgment “while opposing
                                            10    party [Gainer] timely seeks discovery of potentially favorable information.” As set
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                                            11    forth herein and in the Larus Declaration, this Court should deny or continue
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                                            12    Defendant’s Motion for Summary Judgment under Rule 56(d) until Gainer has had
                            M INNEAPOLIS




                                            13    an opportunity to complete expert discovery on the issues raised by Defendant in its
                                            14    motion.
                                            15
                                            16             B.    The Court’s Inherent Powers
                                            17             "[T]he power to stay proceedings is incidental to the power inherent in every
                                            18    court to control the disposition of the causes on its docket with economy of time and
                                            19    effort for itself, for counsel, and for litigants." Marshall v. Hilliard (In re Marshall),
                                            20    No. SACV-01-0097 DOC, 2013 U.S. Dist. LEXIS 76330, at *5-6 (C.D. Cal. May 29,
                                            21    2013) (citing Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Whether to stay an
                                            22    action depends on a court's exercise of judgment in balancing potentially competing
                                            23    interests. Id. (citing Kan. City S. Ry. v. United States, 282 U.S. 760, 763 (1931);
                                            24    Enelow v. N.Y. Life Ins. Co., 293 U.S. 379, 382 (1935)).
                                            25             As set forth in the Larus Declaration, Mr. Gainer has notified Defendant in an
                                            26    exchange on March 21, 2018 and subsequent March 23, 2018 conference pursuant to
                                            27    LR 7-3 of his impending cross-motion for summary judgment. In light of the
                                            28    substantial overlap in subject matters between the parties’ motions, Plaintiff has
                                                                                                      DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                             MEMORANDUM OF POINTS AND
                                                  88833408.1                                -5-                            AUTHORITES
                                           Case 8:17-cv-00672-JVS-DFM Document 43 Filed 03/27/18 Page 6 of 9 Page ID #:560



                                              1   requested that the parties coordinate for a single hearing date for their related
                                              2   motions. Without a hint of justification, Defendant has refused this request,
                                              3   abdicating to its responsibilities of judiciousness to this Court. Defendant has not to
                                              4   date state any prejudice it will face as a result of Mr. Gainer’s request. Instead, it is
                                              5   evident that the interests of all parties, including this Court, will be best served with
                                              6   this reasonable accommodation to a single date for a hearing on motions that
                                              7   substantially overlap.
                                              8            Given Defendant’s refusal of Gainer’s request, Gainer respectfully invoke this
                                              9   Court’s inherent power to stay Defendant’s Motion and to direct the parties to agree
                                            10    on a single date for their cross-summary judgment motions.
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                                            12             C.    CONCLUSION
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                                            13             For the foregoing reasons, Gainer respectfully requests that Ketchum’s
                                            14    summary judgment motion be denied or continued until the completion of expert
                                            15    discovery, at a date to be mutually agreed upon by all parties.
                                            16
                                                  DATED: March 26, 2018                  ROBINS KAPLAN LLP
                                            17
                                            18                                           By: /s/ Draft
                                                                                               Christopher K. Larus
                                            19                                           Attorneys for Plaintiff,
                                                                                         CAMERON GAINER, An Individual
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                                            26                     DECLARATION OF CHRISTOPHER K. LARUS
                                            27             I, Christopher K. Larus, declare:
                                            28             I am a partner in the law firm of Robins, Kaplan L.L.P., counsel for Plaintiff
                                                                                                     DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                            MEMORANDUM OF POINTS AND
                                                  88833408.1                                   -6-                        AUTHORITES
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                                              1   Cameron Gainer, an individual (“Mr. Gainer”) in the above-captioned action. I have
                                              2   personal knowledge of the matters stated herein, except where stated on information
                                              3   and belief, and if called as a witness, I would and could competently testify thereto.
                                              4
                                                   Summary of Evidence Required to Oppose Plaintiff’s Motion for Summary
                                              5    Adjudication
                                              6            A.    Expert Discovery on Copyrightability
                                              7            1.    On March 5, 2018, Defendant submitted the Expert Report of Harvey
                                              8   Levenson, in which defendant’s expert opined as the lack of sufficient originality in
                                              9   Gainer’s works. Cite. Defendant’s expert further opined on whether the works in
                                            10    question are derivative of the Patterson Gimlin film. Id. On March 12, 2018,
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                                            11    Defendant filed its Motion for Summary Judgment on the same grounds – a finding
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                                            12    that Gainer’s works are derivative and lack sufficient originality to garner copyright
                            M INNEAPOLIS




                                            13    protection. (Dkt. 40). Defendant’s Motion is based on matters which are the subject
                                            14    of ongoing expert discovery.
                                            15             2. Plaintiff expects to serve a rebuttal expert opinion on Defendant on exactly
                                            16    the same grounds above. The deadline for such a rebuttal falls on April 6, 2018, two
                                            17    weeks before the deadline for Plaintiff’s response to Defendant’s Motion. (See Dkt.
                                            18    28-1). Further, Plaintiff seeks to depose Defendant’s expert and expert discovery
                                            19    closes on April 27, 2018.
                                            20             3. The deadline for Summary Judgment in this matter is June 25, 2018. (Dkt.
                                            21    28-1).
                                            22             4.   As set forth in Exhibits A and B, Gainer has approached Defendant’s
                                            23    counsel for an agreement to continue the briefing deadlines relating to Defendant’s
                                            24    Motion for Summary Judgment until after the deadline for completion of expert
                                            25    discovery. Defendant’s Motion has raised issued of copyrightability with respect to
                                            26    Gainer’s copyrighted works. Defendant has submitted an Expert Report on this issue
                                            27    of copyrightability in which it asserts that Gainer’s works are not sufficiently original
                                            28    to merit copyright protection, an assertion replete in Defendant’s Motion before the
                                                                                                     DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                            MEMORANDUM OF POINTS AND
                                                  88833408.1                                -7-                           AUTHORITES
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                                              1   Court. Plaintiff believes that arguments presented in its expert rebuttal report, which
                                              2   according to the Court’s deadline is due on April 6, 2018, is essential to its ability to
                                              3   respond to Defendant’s motion adequately. Given the technical nature of the
                                              4   taxidermy techniques at play in Gainer’s works, such evidence will be used to support
                                              5   Plaintiff’s claim of sufficient copyrightability under the laws.
                                              6            5. Mr. Gainer would like the opportunity to depose Defendant’s expert on the
                                              7   basis for his opinion relating to copyrightability, and other issues pertinent to
                                              8   Defendant’s brief.
                                              9
                                            10          I declare under penalty of perjury under the laws of the United States of
                                                  America and the State of Minnesota that the foregoing is true and correct to the best
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                                            11
                                                  of my knowledge.
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                                            12
                                                           Executed this 26th day of March, 2018, in Minneapolis, Minnesota.
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                                                                                                           /s/ Draft
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                                                                                                 Christopher K. Larus
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                                                                                                     DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                            MEMORANDUM OF POINTS AND
                                                  88833408.1                               -8-                            AUTHORITES
                                           Case 8:17-cv-00672-JVS-DFM Document 43 Filed 03/27/18 Page 9 of 9 Page ID #:563



                                              1   DATED: March 16, 2018             ROBINS KAPLAN LLP
                                              2
                                                                                    By: _______________________________
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                                                                                    ATTORNEYS FOR DEFENDANT AND
                                              7                                     COUNTER-CLAIMANT
                                                                                    THE KETCHUM GROUP, INC.
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                                                                                             DEFENDANT AND COUNTER-CLAIMANT’S
                                                                                                    MEMORANDUM OF POINTS AND
                                                  88833408.1                         -9-                          AUTHORITES
